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Attorneys for Defendant LifeSecure Insurance Company

                      IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF UTAH

MARK SCOTT and
MERRILEE SCOTT,                                  DEFENDANT'S RULE 26(a)(2)
                                                   EXPERT DISCLOSURE
       Plaintiffs,

V.
                                                CASE No. 2:15-cv-00197-CW-DBP
LIFESECURE INSURANCE COMPANY,                    Magistrate Judge Evelyn J. Furse

       Defendant.

       Pursuant to Fed. R. Civ. P. 26(a)(2), Defendant LifeSecure Insurance Company

("Defendant") designates and discloses the following expert witness who may be called

upon to testify at trial or otherwise:




DEFENDANT'S RULE 26(a)(2) DISCLOSURES                                          PAGE 1

                                         APP. Ex. 7
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       R. Bryan Tilden
       Tilden and Associates
       52 Redgate Road
       Pittsboro, NC 27312

       Mr. Tilden is a principal of Tilden and Associates who has over 42 years

experience in the insurance and risk management industry. Mr. Tilden's opinions are set

forth in the attached expert report, along with supporting materials pursuant to Fed. R.

Civ. P. 26(a)(2)(B).

       Mr. Tilden may be asked to respond to testimony of certain witness offered at the

time of trial or in deposition, including, but not limited to, the testimony of the Plaintiffs.

Defendant reserves the right to designate any and other expert witnesses for the purposes

of rebuttal depending on additional reports provided by the Plaintiffs. Defendant further

reserves the right to supplement and amend the designations up to an including the time

of trial, expressly reserves the right to withdraw any expert at any point.




DEFENDANT'S RULE 26(a)(2) DISCLOSURES                                                   PAGE2
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Dated: February 18, 2016                Respectfully submitted,


                                        By:---r'--~,.....:::..---+-t~:....__
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                                        ATTORNEYS FOR DEFENDANT

                           CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the attached Defendant's Rule
26(a)(2) Disclosure was served upon the parties listed below via U.S. mail on the 18th
day ofFebruary, 2016.

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DEFENDANT'S RULE 26(a)(2) DISCLOSURES                                          PAGE3
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                          UNITED STATES DISTRICT COURT
                       DISTRICT OF UTAH, CENTRAL DIVISION


MARK SCOTT, an individual; and MERILEE        )
SCOTT, and individual                         )
                                              )
         Plaintiffs,                          )
                                              )
vs.                                           ) NO.: 2:15-cv-00197-CW-DBP
                                              )
LIFESECURE INSURANCE COMPANY, a               ) Judge Clark Waddoups
Michigan Corporation,                         )
                                              )
         Defendant.                           )
                                              )




       Prepared by R. Bryan Tilden, CPCU, CLU, ARM, ALCM, ChFC, CIC, SCLA
                             TILDEN AND ASSOCIATES
                                Pittsboro, North Carolina
                                    February 18, 2016




                                         1
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                                          PREFACE
       I, R. Bryan Tilden, have been engaged by counsel for LifeSecure Insurance Company

(“LifeSecure”) to review certain materials relating to the non-renewal of Policy Number PH02118

(“Policy”) and to, in summary, provide an opinion (a) relating to the features and benefits of the

Policy, all as described in detail in this report and (b) relating to a proper calculation of the

Plaintiffs’ damages, if any, caused by the non-renewal of the Policy.

       I have over 42 years’ experience in the insurance and risk management industry as an

author, broker, consultant, underwriter, drafter of policy forms and endorsements, teacher,

historian, claim examiner and consultant for both insureds and insurers. I have placed business,

as a retail and surplus lines broker representing the insured, in the international insurance market,

including coordinated placements with Lloyd’s brokers, Lloyd’s syndicates, United States,

Canadian, British and European insurance companies. I have handled claims, progressing from

small claims to claims over $1,000,000. I have worked with Lloyd’s brokers, Lloyd’s syndicates,

United States, Canadian, British, Bermudian and European companies in the drafting, underwriting

and placement of insurance policies, both marine and non-marine, and in the adjustment of losses,

including life and health insurance. I teach the construction, drafting, underwriting, adjusting and

analysis of insurance policies throughout the United States, Canada, the Caribbean, Bermuda and

the European Union. I have testified in the United States and London regarding the above subject

matter. I am familiar with the custom and practices of the international insurance marketplace,

including the London, European, Caribbean, Canadian, Bermudian and United States markets.

       My curriculum vitae along with a list of publications and cases I have testified in as an

expert in the last five years is attached hereto as Exhibit A. The facts and data I considered in

forming my opinions expressed in this report are listed in the documents provided section of this
                                                 2
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report. My billing rate to LifeSecure for study and testimony in this matter is $250 an hour.1 The

opinions expressed herein are to a reasonable degree of professional certainty. I reserve the right

to amend or supplement this report should any additional discovery occur.


                                    DOCUMENTS PROVIDED
               1. Complaint;

               2. Answer;

               3. LifeSecure Responses to Discovery;

               4. Scott Responses to Discovery;

               5. LifeSecure Supplemental Responses to Discovery;

               6. LifeSecure Responses to Second Set of Discovery;

               7. LifeSecure Initial Disclosures;

               8. Scott Initial Disclosures;

               9. Scott 00001 – 00309;

               10. LifeSecure 00001 – 00114;

               11. Deposition of Mark Scott and exhibits;

               12. Deposition of Merilee Scott and exhibits;

               13. Deposition of Sam Houk and exhibits; and

               14. HBE Forensics LLC Expert Report.




1
    No portion of my compensation is dependent upon the result of this litigation.
                                                           3
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                                             HISTORY
           The original policy was issued to Plaintiffs February 10, 1987. It was non-renewed March

10, 2014, after initial notice of the non-renewal was given on October 30, 2013. The reason for

the non-renewal was that the contract did not comply with the requirements of the Affordable Care

Act (ACA). Plaintiffs seek past premiums of at least $60,000, despite the fact that they received

$226,006.02 in benefits through 2010.2 In addition, the difference in premium and out-of-pocket

costs between the LifeSecure policy and the alternative ACA compliant policy purchased by the

Plaintiffs is being sought from LifeSecure until both Plaintiffs reach 65.


                                             OPINIONS
I.         LifeSecure followed the custom and practice of the insurance industry in deciding
           not to make changes required to make “grandfathered” 1987 policy ACA compliant.

           Insurance is based on the law of large numbers. This mathematical principle states that as

the number of similar but independent exposure units increases, the relative accuracy of

predictions about future outcomes (losses) also increases. The record shows that 22 policies were

in effect at the time the decision was made to non-renew the health insurance policies instead of

revising the policies to comply with ACA mandated provisions for grandfathered policies. There

were only two policies in Utah, the jurisdiction involved in this litigation. While the record shows

that some states, including Utah, extended the date to make existing ACA policies compliant, other

jurisdictions did not, thereby reducing the already minuscule number of policies in the risk pool.


           Empirical probability (a posteriori probability) is based on actual experience through

historical data or from the observation of facts. As the 1987 Policy provisions did not comply with


2
    Houk Exhibit #19.
                                                   4
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the ACA requirements which materially altered coverages under health policies, this application

would be inappropriate. In other words, even attempting to use data regarding other health

insurance policies, to the extent it could be obtained, would not provide empirical data to allow for

a reasonable setting of future rates since essentially all existing polices would be ACA compliant,

and therefore materially different in benefit structure.


       Theoretical probability is based on theoretical principals rather than actual experience. Due

to the unchanging nature of coin tosses or dice throws, in some situations it may be preferable to

empirical probability. Theoretical probability are not applicable or available in most situations

that insurance professionals analyze, particularly the analysis of potential risk. As a result,

empirical probability must be used.


       Insurance policies are designed and priced based on the following six characteristics:


           1. Pure risk – Involves pure risk, not speculative risk.

           2. Fortuitous losses – Subject to fortuitous loss from the insured’s standpoint.

           3. Definite and measurable – Subject to losses that are definite in time, cause, and

               location that are measurable.

           4. Large number of similar exposure units – One of a large number of similar exposure

               units.

           5. Independent and not catastrophic – Not subject to a loss that would simultaneously

               affect many other similar loss exposures; not catastrophic.

           6. Affordable – Premiums that are economically feasible.




                                                  5
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        Here, with a Utah exposure base of two, the principle of a large number of exposure units

is missing in order for the risk to be priced according to accepted reasonable practice. Further, the

affordability of premiums comes into question. Even if the policies were revised to the minimum

requirements of the ACA grandfather provisions, there would have to be a premium adjustment

approved by the Utah Department of Insurance (as well as other applicable Insurance

Departments), and because of the small number of policies, there would be no data on which such

rate adjustment could be based.


        Of the types of insurance regulation, rate regulation receives the most public attention. The

three major goals of rate regulation are to ensure that the rates are adequate, not excessive, and not

unfairly discriminatory. Adequate means that the premium should be high enough to pay all claims

and expenses for that type of insurance in order to maintain insurer insolvency. Not excessive

means that the insurer should not earn excessive or unreasonable profits. Regulators have

considerable latitude and discretion in determining whether rates are excessive. Not unfairly

discriminatory refers to fair and consistent discrimination, the basis of insurance rating. Not every

exposure is the same and insurers may typically take into account differences among insureds that

effect the risk.


        LifeSecure would have followed the above principles of insurance in making the decision

not to revise the policies to comply with the ACA mandates for grandfathered policies. If they

had revised the policies, based on two policies in Utah, there would be no empirical data to present

to the Utah Department of Insurance to establish the new premium based on the new benefits. The

uncertainty of future losses for a small number of policies would require enough collected



                                                  6
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premium for the two policies to cover future losses, expenses, and a reasonable profit for

LifeSecure.


        Market price includes spread of risk in the rate making function. With a large number of

exposure units, the risk of catastrophic loss is mitigated. Not all policy holders would contract a

dread disease or sustain an accident in any particular policy period. Only a portion would have a

large loss, but the spread of risk stabilizes the market price. With two policies involved, the pricing

has to be higher than market price due to the lack of spread of risk. Because of the risk pool of

two policies in Utah, more likely than not the new premium would not be approved by the Utah

regulators, as the premium would have to be higher than market price due to the lack of a large

number of exposure units and the uncertainty in the risk described above.


        The ACA has established more rate regulation in addition to state regulation: Rate Review

and the 80/20 rule.       Rate Review protects policyholders from unreasonable rate increases.

Insurance companies must now publicly explain any rate increase of 10% or more before raising

the premium.3 The 80/20 Rule generally requires insurance companies to spend at least 80% of

the money they take in from premiums on health care costs and quality improvement activities.

The other 20% can go to administrative, overhead, and marketing costs.4




3
 This does not apply to grandfathered plans.
4
 Insurance companies selling to large groups must spend at least 85% of premiums on care and quality
improvement.
                                                       7
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II.       HBE Forensics LLC analysis failed to consider, among other things, the benefit
          level changes when calculating damages.

          The damage calculations performed by HBE did not take account or adjust for the increased

benefits provided by either a Bronze or Silver plan. HBE did not indicate which Bronze plan was

utilized for the pricing model. The Plaintiffs obtained a Silver Plan, and presumably the Bronze

Plan was included by HBE for comparison purposes. The following analysis indicates the plan

number utilized, with the Silver plan the one procured by the Plaintiffs:

                                                                Bronze Plan                Silver Plan
                                    LifeSecure
                                                                S40A1997                    S302018
    Maximum Benefit                 $1,000,000                   Unlimited                 Unlimited
    Deductible – Accident               $50                       $3,500                     $3,500
    Deductible – Sickness
                                       $500                        $3,500                    $3,500
    2015
    Deductible – Sickness
                                       $500                        $4,500                    $3,500
    2016
    Deductible –Emergency                                   $500 co-payment after
                                        $50                                           100% after deductible
    Room                                                         deductible
    Co-payments                        20%5                         30%                        0%
    Medical,      Surgical,
    Hospice,    Emergency      $1,000 day maximum           70% after deductible      100% after deductible
    Admissions
    Anesthesia                 30% of surgical charge       70% after deductible      100% after deductible
    Mammography                        None                      Covered6                  Covered7
    Maternity                          None                 70% after deductible      100% after deductible
    Skilled Nursing Facility           None                 70% after deductible      100% after deductible8
                                                            $40 co-payment after
    Rehab Therapy                      None                                           100% after deductible9
                                                                 deductible
                                                              $25 co-pay after
    Sick Office Visits           After Deductible                                     100% after deductible
                                                                 deductible
    Preventive Care                    None                      Covered10                  Covered11

5
  After deductible, when co‐payments reach $4,500, then 100% up to policy maximums.
6
  See Exhibit B.
7
  Ibid.
8
  60 days per year.
9
  40 days per year.
10
   See Exhibit B.
11
   Ibid.
                                                        8
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                                                              Bronze Plan            Silver Plan
                                     LifeSecure
                                                              S40A1997                S302018
 Tier I Drugs                    After Deductible12       $10 per prescription   100% after deductible
                                                           30% co-pay after
 Tier II Drugs                    After Deductible                               100% after deductible
                                                               deductible
                                                           50% co-pay after
 Tier III Drugs                   After Deductible                               100% after deductible
                                                               deductible
                                                            $40 co-pay after
 Allergy Tests                          None                                     100% after deductible
                                                               deductible
 Self-inflicted Injury                  None              70% after deductible    100% after deductible
 Infertility                            None                 $1,500 year13       100% after deductible14
 Obesity Surgery                        None                  Not covered         100% after deductible
 Foot Care                              None              70% after deductible    100% after deductible
 Acts of Aggression                     None              70% after deductible    100% after deductible
                                                            $40 co-pay after
 Pediatric Eye Exam                     None                                     100% after deductible
                                                               deductible
 Pediatric Glasses &
                                        None              70% after deductible   100% after deductible
 Contact Lenses
 Chiropractic                         $300 year               Not covered        100% after deductible15
 Drug     &     Alcohol                                     $25 co-pay after
                                     $1,000 year                                 100% after deductible
 Treatment                                                     deductible
 Mental Health                        50%16               70% after deductible   100% after deductible
 TMJ Services                         None                  $2,000 lifetime         $2,000 lifetime
 Motorcycle Injuries            $10,000 occurrence        70% after deductible   100% after deductible
 Organ Transplant                    $25,000              70% after deductible   100% after deductible
 Ambulance                         75 mile limit          70% after deductible   100% after deductible


        As the table above demonstrates, the coverage procured by the Plaintiffs had greater

benefits than the LifeSecure policy. HBE did not account for the benefit level change in its

analysis. As an example, both the Silver and Bronze plans cover preventive care at 100% with no

deductible. Based on this benefit, Mrs. Scott obtained a mammogram that was fully covered as




12
   Accident and sickness only, no preventive.
13
   $1,500 per year, $5,000 lifetime.
14
   $1,500 per year, $5,000 lifetime.
15
   15 visits per year
16
   $1,500 year, $10,000 lifetime maximum.
                                                      9
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required by the ACA. Attached as Exhibit B is a listing of preventive care benefits available under

the Plaintiff’s current policy, with no out-of-pocket cost to the Plaintiffs.


        HBE also failed to account for the income tax implications of the transaction. Plaintiffs

purchased the LifeSecure policy with after-tax dollars. In using after-tax dollars, the deductibility

would be the portion of medical expenses that exceeded 7½ % of their adjusted gross income.

HBE acknowledged that the current Silver Plan was purchased by the Plaintiff’s wholly owned

company, and the record reflects the company pays the premium.17 Purchasing health insurance

through the company would utilize pre-tax dollars since the payment would be an expense to the

company. HBE stated “I assumed that insurance purchased through the company is equivalent to

the Scott’s purchasing the insurance individually”. HBE failed to adjust the claimed damages by

the income tax implications, thereby overstating and inflating the damages. 18


        HBE also failed to adjust the damages for the health savings account (HSA). While the

damage calculations did not include the contribution to the HSA, there is a significant income tax

advantage in utilizing a HSA. Generally, any contributions to the HSA can be made with pre-tax

dollars or such contributions are deductible. The benefits statement in this case indicates that the

business made the contribution, and is therefore not taxed as earned income to the Plaintiffs. The

LifeSecure product was not designed for nor compliant with the HSA requirements as it is not a

high deductible plan. Failing to make this adjustment is another instance where the claimed




17
  See Scott000075.
18
  HBE also failed to indicate how premium paid by the company, which is a separate independent entity, results in
damages to the individual Plaintiffs.
                                                       10
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damages are inflated and overstated since Plaintiffs can pay all out-of-pocket costs assumed by

HBE with pre-tax dollars under their current plan.


           HBE, in their damages report, further stated that the maximum out-of-pocket would be

$1,400 per year. Only one sickness deductible was taken per year of $500. This does not account

for the internal limits in the LifeSecure policy, such as $1,000 per day for hospital expenses, and

therefore the analysis of out-of-pocket costs is totally speculative. If hospitalization had occurred,

then the out-of-pocket cost under the LifeSecure policy would be significantly higher than under

the Plaintiffs’ current coverage. Becker’s Hospital CFO indicates that in Utah, the average cost

per inpatient day in 2015 was $2,843.19 This does not include doctor or ancillary charges. The

Kaiser Family Foundation reports that the average per capita spending for health care in Utah in

2009 was $5,031.20


           As previously discussed, the ACA requires at least 80% of the premium collected be

utilized for payment of losses. Plaintiffs complain that they have to pay a higher premium, but

chose to ignore the benefit changes. The Silver Plan they procured does have a higher premium,

but includes greater benefits. Because of the 80% loss ratio requirement under the ACA, one can

deduce the Silver Plan premium is commiserate with the increased benefits, and would be

representative of market price in relation to the benefit level. Again, HBE in their damages report

does not take into account the benefit level change in this highly regulated ACA compliant product,

and only desires to focus on the change in premium.




19
     http://www.beckershospitalreview.com/finance/average‐cost‐per‐inpatient‐day‐across‐50‐states.html.
20
     http://kff.org/other/state‐indicator/health‐spending‐per‐capita/?state=UT.
                                                        11
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       The HBE report is deficient for the above reasons and most critically fails to reasonably

attempt to calculate actual damages since the differential in benefits is not addressed. The report

is based on an assumption that no services limited or excluded under LifeSecure would occur, even

though paid claims of $226,006.02 through 2010 were made by under the Policy, highlighting that

Plaintiffs’ had significant claims in the past. Further, the HBE report simply assumes the premium

under the LifeSecure policy would remain the same even though, in order to remain in force, the

policy would have to be changed to add the additional benefits required by the ACA. This also

raises a final point, an ACA compliant policy would not be the same policy originally issued to

the Plaintiffs, as it would be changed in material respects.




                                                 12
Case 2:15-cv-00197-CW Document 34-7 Filed 03/31/16 PageID.390 Page 16 of 29

                                         Curriculum Vitae
                                                of
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                                                         -




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                           AMERICAN EDUCATIONAL INSTITUTE, INC.
                           Basking Ridge, New Jersey
                            Chartered Financial Consultant, 1983
                            THE AMERICAN COLLEGE
                           Bryn Mawr, Pennsylvania
                           Associate in Loss Control Management, 1983
                            INSURANCE INSTITUTE OF AMERICA
                           Malvern, Pennsylvania
                           Associate in Risk Management, 1982
                            INSURANCE INSTITUTE OF AMERICA
                           Malvern, Pennsylvania
                            Chartered Life Underwriter, 1982
                            THE AMERICAN COLLEGE
                           Bryn Mawr, Pennsylvania
                            Chartered Property Casualty Underwriter, 1980
                           THE AMERICAN INSTITUTE FOR PROPERTY AND LIABILITY
                           UNDERWRITERS
                           Malvern, Pennsylvania
                            Certified Insurance Counselor, 1978
                            SOCIETY OF CERTIFIED INSURANCE COUNSELORS
                           Austin, Texas
 HONORS/ACTIVITIES:        Continuing Professional Development, Society of Chartered Property
                           Casualty Underwriters, 2013 - 2015
                           Grading Panel Member, The American Institute for Property and
                           Liability Underwriters
                           Grading Panel Member, Insurance Institute of America
                           National Faculty Member, Society of Certified Insurance Counselors
                           Faculty, ACORD Power of Change Workshop, 1995 to present
                           Faculty, Independent Insurance Agents Virtual University,
                              commentator to ISO, AAIS and ACORD
                           Ernest F. Young Education Award, 1988
                           North Carolina Independent Agent of the Year, 1989
                           Frequent contributor the The John Liner Letter
                              articles on Business Income, CGL, Auto, Risk Management
                           Reviewer, various CPCU and Insurance Institute textbooks



                                                                                  Exhibit A
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R. BRYAN TILDEN       PAGE2

MEMBERSHIPS:          International Association of Arson Investigators
                      Society of Certified Insurance Counselors
                      Society of Chartered Property Casualty Underwriters
                      Society of Claims Law Associates
                      Society of Financial Service Professionals

LICENSES:             Property and Liability Agent, North Carolina, New Jersey
                      Life and Health Agent, North Carolina, New Jersey
                      Medicare Supplement and Long Tenn Care Agent, North Carolina

EXPERIENCE:           April 1997 to Present
                      Training and Consulting
                      Tilden & Associates
                      Pittsboro, North Carolina

                      September 1995 to March 1997
                      Director of Technical Affairs
                      Independent Insurance Agents of North Carolina, Inc.
                      Raleigh, North Carolina
                      March 1990 to August 1995
                      Director of Education
                      Independent Insurance Agents of North Carolina, Inc.
                      Raleigh, North Carolina
                      September 1983 to March 1990
                      Account Executive
                      Chapel Hill Insurance Agency, Inc.
                      Chapel Hill, North Carolina
                      September 1979 to July 1983
                      Vice President
                      Thomas Rutherfoord, Inc.
                      Roanoke, Virginia
                      December 1978 to September 1979
                      Account Executive
                      Marsh & McLennan, Inc.
                      Washington, DC
                      July 1974 to December 1978
                      Account Executive
                      Herb Holland Company, Inc.
                      Chapel Hill, North Carolina

PUBLICATIONS:         The CPCU Society. "A Guide to the CGL Aggregate Limits",
                      http://www.cpcusociety.org/leaming/campus/how.shtml , 1999
                      The CPCU Society, "A Guide to the Motor Carrier Act",
                      http://www.cpcusocietv.org/learning/campus/how.shtml. 1999
                      The CPCU Society, "A Guide to Value Reporting Form",
                      http://wv.rw.cpcusociety.org/learning/campus/how.shtml. 1999
Case 2:15-cv-00197-CW Document 34-7 Filed 03/31/16 PageID.392 Page 18 of 29




R. BRYAN TILDEN       PAGE3

                      R. Bryan Tilden, 1999 Business Auto Policy, Changes and Issues
                      (Albany: Professional Insurance Agents, 1999)
                      ----, 2000 Commercial Property Changes (Malvern: The CPCU
                      Society, 2000)
                      ----, 2000 Homeowners Policy Changes (Malvern: The CPCU
                      Society, 2000)
                      ----, 2001 Commercial General Liability Policy Changes (Malvern:
                      The CPCU Society, 2001)
                      ----, 2001 Business Automobile Policy Changes (Pittsboro, NC:
                      Tilden and Associates, 2001)
                      ----, 2002 Commercial Property Changes (Malvern: The CPCU
                      Society, 2002)
                      ----, 2004 Commercial General Liability Policy Changes (Malvern:
                      The CPCU Society, 2004)
                      ----, 2007 Commercial General Liability Policy Changes (Malvern:
                      The CPCU Society, 2007)
                      ---- 2008 Commercial Property Changes (Malvern: The CPCU
                      Society, 2008)
                      ----, 2010 Automobile Policy Changes (Malvern: The CPCU Society,
                      2011)
                      ----, 2011 Homeowners Policy Changes (Malvern: The CPCU
                      Society, 2011)
                      ----, 2012 Commercial Property Policy Changes (Malvern: The
                      CPCU Society, 2013)
                      ----, 2013 Commercial General Liability Policy Changes (Malvern:
                      The CPCU Society, 2013)
                      ----,Additional Insured (Austin: Society of Certified Insurance
                      Counselors, Inc., 1996, 2005, 2013; Malvern: The CPCU Society,
                      1999,2001,2004,2005,2013)
                      ----, Advanced Business Income (Malvern: The CPCU Society, 1990 -
                      2013)
                      ----,Advanced Inland Marine (Malvern: The CPCU Society, 2000)
                      ----,Advanced Pollution Liability (Malvern: The CPCU Society, 1999
                      - 2012)
                      ----,Arson and the Insurance Contract (Austin: Society of Certified
                      Insurance Counselors, Inc., 1998, 2004, 2012)
                      ----,Bonus Life and Non-Qualified Deferred Compensation Plans
                      (Pittsboro, NC: Tilden and Associates, 1998)
                      ----, Budgeting (Raleigh: Independent Insurance Agents of North
                      Carolina, Inc., 1995)
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                      Course of Construction (Malvern. The CPCU Society, 2006)
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                                         EXHIBIT B
       All ACA health plans must cover the following list of preventive services without

charging a copayment or coinsurance. This is true even if the yearly deductible has not been met.


   1. Abdominal aortic aneurysm one-time screening for men of specified ages who have ever
      smoked

   2. Alcohol misuse screening and counseling

   3. Aspirin use to prevent cardiovascular disease for men and women of certain ages

   4. Blood pressure screening

   5. Cholesterol screening for adults of certain ages or at higher risk

   6. Colorectal cancer screening for adults over 50

   7. Depression screening

   8. Diabetes (Type 2) screening for adults with high blood pressure

   9. Diet counseling for adults at higher risk for chronic disease

   10. Hepatitis B screening for people at high risk, including people from countries with 2% or
       more Hepatitis B prevalence, and U.S.-born people not vaccinated as infants and with at
       least one parent born in a region with 8% or more Hepatitis B prevalence.

   11. Hepatitis C screening for adults at increased risk, and one time for everyone born 1945 –
       1965

   12. HIV screening for everyone ages 15 to 65, and other ages at increased risk

   13. Immunization vaccines for adults — doses, recommended ages, and recommended
       populations vary:

           •   Diphtheria

           •   Hepatitis A

           •   Hepatitis B

                                                1
                                                                            Exhibit B
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          •   Herpes Zoster

          •   Human Papillomavirus (HPV)

          •   Influenza (flu shot)

          •   Measles

          •   Meningococcal

          •   Mumps

          •   Pertussis

          •   Pneumococcal

          •   Rubella

          •   Tetanus

          •   Varicella (Chickenpox)

   14. Lung cancer screening for adults 55 - 80 at high risk for lung cancer because they’re
       heavy smokers or have quit in the past 15 years

   15. Obesity screening and counseling

   16. Sexually transmitted infection (STI) prevention counseling for adults at higher risk

   17. Syphilis screening for adults at higher risk

   18. Tobacco Use screening for all adults and cessation interventions for tobacco users



Covered preventive services for women:

   1. Breast cancer genetic test counseling (BRCA) for women at higher risk

   2. Breast cancer mammography screenings every 1 to 2 years for women over 40

   3. Breast cancer chemoprevention counseling for women at higher risk

   4. Cervical cancer screening for sexually active women

   5. Chlamydia infection screening for younger women and other women at higher risk

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   6. Domestic and interpersonal violence screening and counseling for all women

   7. Gonorrhea screening for all women at higher risk

   8. HIV screening and counseling for sexually active women

   9. Human Papillomavirus (HPV) DNA test every 3 years for women with normal cytology
      results who are 30 or older

   10. Osteoporosis screening for women over age 60 depending on risk factors

   11. Rh incompatibility screening follow-up testing for women at higher risk

   12. Sexually transmitted infections counseling for sexually active women

   13. Syphilis screening for women at increased risk

   14. Tobacco use screening and interventions

   15. Well-woman visits to get recommended services for women under 65



Services for pregnant women or women who may become pregnant:

   1. Anemia screening on a routine basis

   2. Breastfeeding comprehensive support and counseling from trained providers, and access
      to breastfeeding supplies, for pregnant and nursing women

   3. Contraception: Food and Drug Administration-approved contraceptive methods,
      sterilization procedures, and patient education and counseling, as prescribed by a health
      care provider for women with reproductive capacity (not including abortifacient drugs).
      This does not apply to health plans sponsored by certain exempt “religious employers.”

   4. Folic acid supplements for women who may become pregnant

   5. Gestational diabetes screening for women 24 to 28 weeks pregnant and those at high risk
      of developing gestational diabetes

   6. Gonorrhea screening for all women at higher risk



                                                 3
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  7. Hepatitis B screening for pregnant women at their first prenatal visit

  8. Rh Incompatibility screening for all pregnant women and follow-up testing for women at
     higher risk

  9. Syphilis screening

  10. Expanded tobacco intervention and counseling for pregnant tobacco users

  11. Urinary tract or other infection screening




                                               4
